[1] From the certificate of the county clerk on file herein it appears that notice of appeal was filed on January 21, 1933; that no bill of exceptions has been filed under section 650 of the Code of Civil Procedure; that no transcript has been filed under section 953a of the Code of Civil Procedure; that no request for a transcript under the provisions of section 953a of the Code of Civil Procedure has been filed; that no additional time in which to prepare and serve a bill of exceptions has been allowed; that no proceeding for a bill of exceptions or a transcript is pending in the trial court; and that the time within which a record might be prepared under either method has expired. Respondents' motion to dismiss should, therefore, be granted (General Motors etc. Co. v. Holman, 63 Cal.App. 17
[217 P. 1086]; People v. Berkeley Chiropractic College,103 Cal.App. 139 [283 P. 981]; Union Trust Co. of San Diego v.Novotny, 125 Cal.App. 417 [13 P.2d 974]).
The appeal is dismissed.
Marks, J., and Jennings, J., concurred. *Page 203 